             IN THE UNITED STATES DISTRICT COURT

         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA           :
                                   :
                v.                 :
                                   :
MARCOS ARRIAZA-RIOS,               :        1:18CR303-1
also known as “Copia”              :
JOSE ALBERTO PEREZ,                :        1:18CR303-2
also known as “Junie”              :
SALVADOR VALADEZ, JR.              :        1:18CR303-3
MICHAEL EDWARD HEHIR, JR.          :        1:18CR303-4
DANA ELIZABETH DUNCAN              :        1:18CR303-5
ALIBBIA JO MICHAUD                 :        1:18CR303-6
RODNEY NEIL HARDIN                 :        1:18CR303-7
CHARLES STANLEY BANGERT, JR.:               1:18CR303-8
ASHLEY DAWN SANDERS                :        1:18CR303-9
BRAD SCOTT BRUCE, JR.              :        1:18CR303-10
EDWARD LEE ALEXANDER BLAIS :                1:18CR303-11
RICHARD TREY WRIGHT                :        1:18CR303-12
ASHLEY PAIGE KRAMER                :        1:18CR303-13
JACOB DANIEL JOHNSON               :        1:18CR303-14
JAMES QUINCEY SMITH                :        1:18CR303-15
DANIEL DEWAYNE WOOD                :        1:18CR303-16
TIMOTHY BAXTER DAY                 :        1:18CR303-17
ROY LEE HARTFORD, JR.              :        1:18CR303-18
GARY RAY WALLER, JR.               :        1:18CR303-19
ALYSSA MARY BROOKE ASHLEY :                 1:18CR303-20
BRENDA SUE BOSTIAN,                :        1:18CR303-21
also known as Brenda Bostian Owens :
BRITTANY DAWN THOMAS               :        1:18CR303-22
MORGAN NICHOLE PEPPER              :        1:18CR303-23
SAMUEL BLAKE HELTON                :        1:18CR303-24
AMANDA MARIE HARDISON              :        1:18CR303-25
BILLY JACK FLEMING,                :        1:18CR303-26
also known as “B.J.”               :
BROCK MICHAEL ROWE                 :        1:18CR303-27
ROBERT EARL HOLCOMB                :        1:18CR303-28




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 1 of 47
                              FACTUAL BASIS

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

and as a factual basis under Rule 11, Fed. R. Crim. P., states the following:

      In 2014, the Rowan County Sheriff`s Office (RCSO) and the North

Carolina State Bureau of Investigation (SBI) initiated an investigation into

large scale methamphetamine distribution and clandestine methamphetamine

production in Rowan County. Since the inception of the investigation, the

RCSO and the SBI have been joined in the investigation by the United States

Department of Homeland Security Investigations (HSI), the United States

Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), and a number of

local agencies.   Thirty-Two individuals were indicted in Middle District of

North Carolina in Phase I of the investigation in United States v. Bost, et al.,

1:17CR57.    With the exception of one fugitive, all these defendants have

entered guilty pleas or have been found guilty by a jury.      Phase II of the

investigation has continued to deal with following-up information developed

during Phase I.    The investigation has focused on methamphetamine and

heroin entering Rowan County and elsewhere from the states of Washington,

California, Georgia, and North Carolina. The primary supplier, known only

as “Copia,” has been positively identified as Marcos Arriaza-Rios, who Jose
                                       2




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 2 of 47
Alberto Perez met at the Lee Federal Penitentiary in Virginia. The Georgia

based suppliers for Oliver Quinn and David Fox were known only as “Atlanta

Mike” and “Earl.” Since that time, Atlanta Mike has been positively identified

as Michael Edward Hehir, Jr. Earl has been tentatively identified as Robert

Earl Holcomb.     Other major methamphetamine suppliers in Georgia have

been identified as Dana Duncan and Alibbia Jo Michaud.           A large-scale

Hispanic supplier in Rowan County has been identified as Salvador Valadez.

These suppliers are distributing pound to multi-kilogram amounts of

methamphetamine. Smaller amounts of heroin were distributed by Perez, or

obtained through Hispanic suppliers in the metro Charlotte, North Carolina,

area.

        Since the indictment in United States v. Bost, et al., 1:17CR53,

numerous seizures of heroin, methamphetamine and firearms have been made

and a number of suspects and potential defendants have been interviewed. Of

the 28 individuals targeted in Phase II, 18 have been interviewed and admitted

guilt. A number of search warrants and searches occurred during the course

of the investigation, where methamphetamine, heroin, firearms, and

ammunition were recovered from potential defendants or under their control.




                                       3




         Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 3 of 47
      Review of telephone records, text messages and seized telephones

corroborate many of the statements of cooperating witnesses and defendants.

Specifically, there are numerous text messages between telephone numbers

connected to David Earl Fox, Michael Edward Hehir, Jr., and Robert Earl

Holcomb that support Fox obtaining large amounts of methamphetamine from

Hehir and Holcomb. Text messages and pictures found on Daniel Dewayne

Wood’s phone show James Quincey Smith discussing drug deals with Wood

and sending him a picture of a handgun that he was trying to sell him. This

handgun was subsequently seized in a search of Wood’s residence.           The

telephone records and pictures on Rodney Neil Hardin’s seized phone

corroborate his drug relationship with Dana Elizabeth Duncan.

      Laboratory testing on methamphetamine seized during the course of the

investigation showed purity ranging from 98.7% to 100.2%.

      On March 20, 2015, Michael Eugene Long was interviewed by

investigators. Long, who was in custody, had been advised of his Miranda

rights.    Long stated that he sold methamphetamine to Morgan Nichole

Pepper. He indicated that he met Jeremy Bowers through Brittany Dawn

Thomas. Bowers was traveling to Florida to obtain methamphetamine, and

claimed that he was getting 10 ounces at a time. Bowers wanted Long to go

with him to Florida to get methamphetamine, but instead Long sent Brittany
                                        4




          Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 4 of 47
Thomas on two separate occasions. Long stated that between Thanksgiving

and Christmas 2014, he purchased 12 to 20 ounces of methamphetamine from

Bowers.

      On January 14, 2016, cooperating witness Arnie Rabon arranged a

purchase of methamphetamine from Alibbia Jo Michaud. Michaud, who was

known by the Salisbury Police Department to not have a license, was stopped

in a blue Honda Civic with a Georgia registration plate on West Jake

Alexander Boulevard, Salisbury, North Carolina. Michaud was arrested for

not having a driver’s license. In the driver’s side door was a plastic bag with

approximately three grams of methamphetamine.            She stated that the

methamphetamine found in the door belonged to a girlfriend, named “Ice,” in

Atlanta, Georgia. It should be noted that during subsequent investigation, it

was learned that Michaud’s source of drug supply in Georgia was named “Isis.”

      On January 28, 2016, James Patrick Myers was interviewed pursuant to

a non-attribution agreement. Myers admitted to being the conduit for Oliver

Dwayne    Quinn,    who   lived   in   Georgia,   to   begin   distribution   of

methamphetamine in Rowan County. Around June 2015, he started receiving

methamphetamine on a weekly basis from Quinn, either in Georgia or Rowan

County, North Carolina.     This continued until November 2015.        Around

November 2015, he rode with Ashley Dawn Sanders to the Ramada Inn in
                                       5




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 5 of 47
Salisbury, where she obtained two ounces of methamphetamine from suppliers

in Georgia.

     On April 28, 2016, cooperating witness Teresa Hurley Dunbar made a

controlled buy of one gram of methamphetamine from Brenda Sue Bostian at

her residence, located at 1070 Larson Drive, Salisbury, North Carolina. The

purchase was made for $240 in Rowan County Sheriff’s Office Special Funds.

This transaction was audio and video recorded.

     On May 6, 2016, the Rowan County Sheriff’s Office conducted a traffic

stop of a white box truck with an inoperable tail light on Mahaffey Drive in

Salisbury, North Carolina. Drug paraphernalia was in plain view, which led

to a search of the vehicle. Two sweatshirts on the floor between the driver’s

seat and the passenger seat concealed two containers with several grams of

methamphetamine. The passenger in the vehicle was Roy Lee Hartford, Jr.

During a search of Hartford’s person a small bag of methamphetamine was

located in his watch pocket. Hartford was arrested.

     On May 24, 2016, Alyssa Ashley was interviewed after she requested

that investigators talk to her. The interview was recorded. Alyssa Ashley

indicated that she had a baby by Rabon, who was involved with trafficking

methamphetamine.      Rabon had multiple sources for methamphetamine,

including Alibbia Jo Michaud. She was aware that Rabon supplied Brenda
                                     6




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 6 of 47
Bostian with methamphetamine.      Ashley said that Rabon had a gun that

came from Bostian, who got it from Charles Stanley Bangert, Jr., aka “Stosh.”

Alyssa Ashley admitted to making trips to Georgia with Rabon and others to

procure methamphetamine and she had accompanied Rabon on transactions

with Andrew Bost and Wiggins.

      On June 23, 2016, Barney Scott Paschall was interviewed pursuant to a

non-attribution agreement. Paschall said that he was released from prison on

March 10, 2015, and shortly thereafter got back into the drug business.

Paschall said that Brittany Thomas brokered deals between him, Andrew Bost

and a Mexican supplier in the summer of 2015. The deals ranged from ¼

ounce to 20 grams. Paschall subsequently went around Thomas and dealt

directly with Bost.

      On November 30, 2016, Charles Stanley Bangert, Jr., Amanda Neil

Hardison and Jonathan Wade McDaniel were stopped in a blue Jeep on

Interstate 85 North near Blacksburg, South Carolina.      Hardison was the

driver and Bangert and McDaniel were the passengers. A search of Bangert

produced a black bag containing four ounces of methamphetamine. Bangert

was arrested for trafficking methamphetamine.

      On December 19, 2016, Charles Stanley Bangert, Jr., was arrested in a

traffic stop in Jackson County, Georgia, and charged with assorted traffic
                                     7




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 7 of 47
charges and possession of marihuana. Bangert was accompanied by Amanda

Hardison and Timothy Baxter Day. Subsequent investigation showed that

Day and Hardison recovered approximately one ounce of methamphetamine

from the trunk of this vehicle after it was impounded and brought it to Rowan

County. The bulk of the methamphetamine was distributed to Rodney Neil

Hardin.

     On February 8, 2017, the Rowan County Sheriff’s Office conducted

surveillance of Tammy’s Park Road in Rockwell, North Carolina. Earlier in

the day, the Sheriff’s Office had stopped a primer gray Acura and got a

methamphetamine smoking pipe from the driver. Later that same day, the

same vehicle was observed turning into Tammy’s Park Road without using a

turn signal. The driver was Adrienne Bookhiser. Eventually, the passenger

identified himself as Timothy Day. After being advised of his Miranda rights,

Day admitted to having an ounce of methamphetamine in his boot and a

syringe. Approximately 21 grams and a syringe were found in Day’s boots.

     On February 17, 2017, cooperating witness Teresa Hurley Dunbar made

a controlled purchase of three grams of methamphetamine from David Earl

Fox and Morgan Nichole Pepper at their residence, located at 3045 Artz Road,

Salisbury, North Carolina. The transaction was audio recorded.



                                     8




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 8 of 47
     On March 7, 2017, Morgan Pepper, who was in custody on state drug

charges, was interviewed. The interview was recorded. Pepper said that she

had lived with David Earl Fox on Artz Road in Salisbury, North Carolina, for

five to six years. Pepper admitted to dealing drugs and said that Fox was

obtaining methamphetamine from Mike, Michael Edward Hehir, Jr. and Earl

(believed to be Robert Earl Holcomb). She also said that during the previous

six months, Mike was delivering ice on a monthly basis, and Earl, who worked

for Mike, delivered two times per week. The deals were initially 16 to 18

ounces and had progressed to as much as four kilograms at a time. The ice

was in Tupperware containers with 16 ounces in each one. Pepper had David

Fox procure heroin for her from Jason Dillard in Gold Hill, North Carolina.

Pepper identified Mary Phillips, Roy Hartford, Jr., Matthew Robertson, and

“Buddy” Overman as some of Fox’s main customers.

     On March 30, 2017, Arnie Preston Rabon was interviewed pursuant to a

non-attribution agreement.   During the summer months of 2015, Rabon

started dealing with Brittany Thomas, Jose Alberto Perez, aka “Juice,” and

Andrew Bost. Rabon said that Thomas brokered 2 to 3 deals for him with

Perez for 1/8 ounce each time. Rabon stated that a .38 handgun found during

his traffic stop in February 2016, came from Charles Stanley Bangert, Jr.

Rabon traded 1/8 ounce of methamphetamine to Bangert for the gun at Brenda
                                     9




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 9 of 47
Bostian’s residence. Rabon said that he hung out with Brenda Bostian for two

months before he got locked up in February 2016. Rabon and Bostian got high

together and he gave Bostian 1/8 ounce of ice on two separate occasions, mostly

because he was staying at her residence.

      On April 6, 2017, Michael Justin Antosek was interviewed pursuant to a

non-attribution agreement. Antosek said that on March 31, 2017, he was at

Daniel Dewayne Wood’s woodworking shop on Fish Pond Road in Salisbury,

North Carolina, and saw James Quincey Smith deliver Wood 1 to 2 ounces of

methamphetamine.      In the past, Antosek saw Smith, a frequent visitor to

Wood’s residence and shop, get money from Wood. Antosek said that Wood

had around 40 guns in his house, including assault style weapons. Wood told

Antosek that he was a convicted felon.

      Antosek said that in 2016 he traveled to Conyers, Georgia, with Wood,

an unknown female, and Shari Robertson, to obtain methamphetamine from

Ashley Sanders, who was in Georgia. Sanders was unsuccessful in getting the

methamphetamine, so they made contact with her boyfriend, Oliver Dwayne

Quinn, and he was able to get Wood 2 to 3 ounces. Antosek said that he had

purchased 1/8 ounce of methamphetamine from Sanders in the past.

      On April 11, 2017, Matthew Walter Robertson was interviewed pursuant

to a non-attribution agreement. Robertson said that he met Oliver Quinn in
                                      10




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 10 of 47
2015, and continued dealing with Quinn for the next 6 to 8 months, possibly

longer. Robertson stated that he met Quinn 1 to 2 times per week, with the

transactions taking place primarily at his and Jamie Myers’ residence in

Fisherman’s Cove. Robertson stated that Quinn often stayed at the motel

across from the truck stop on Lane Street in Kannapolis, North Carolina.

Robertson said that he also met Quinn at this location. Robertson said that

he got one ounce at a time, with the price ranging from $650 to $750.

      Robertson said that from the summer of 2016, to March 2017, he lived

with David Earl Fox at Fox’s residence on Artz Road in Salisbury, North

Carolina. During that time frame, he got ½ ounce to 1 ounce quantities of

methamphetamine at a time from Fox.              Fox was being delivered

methamphetamine by “Mike” and “Earl” on at least a monthly basis.

Robertson said that James Quincey Smith was his single biggest customer

when he lived with David Fox, and Smith was getting ½ ounce at a time.

      On April 17, 2017, the Rowan County Sheriff’s Office conducted

surveillance at 705 Hilbert Road, Rockwell, North Carolina, in reference to a

drug complaint against Roy Lee Hartford, Jr. The concerned citizen advised

Hartford was living at 705 Hilbert Road and that he should be driving a tan or

gold in color Ford pick-up truck. After returning to the residence for a short

period of time, Hartford left again and the Rowan County Sheriff’s Office
                                     11




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 11 of 47
conducted a traffic stop on Hartford’s tan or gold Ford pick-up truck.

Investigators   located   a bag    containing   approximately    14 grams      of

methamphetamine and $672 in United States currency. After being advised

of his Miranda rights, Hartford stated that he bought the methamphetamine

from an unknown individual.

      On April 27, 2017, the Rowan County Sheriff’s Office responded to a

complaint that James Quincey Smith was selling narcotics in Ellis Park.

Deputies conducted surveillance of the park and observed Smith at the

location. Smith’s vehicle, a silver 2005 Honda Civic, was stopped for having

items on the front dash that obstructed the driver’s vision and made it unsafe

to operate on the streets. During the course of the traffic stop a drug detection

canine was deployed on the vehicle and provided a positive alert for the

presence and/or odor of narcotics. During a pat down of Smith, a container

containing methamphetamine and marihuana was located. Rolling papers

and a 9mm firearm were found in the trunk of the Honda. Approximately 4.6

grams of methamphetamine and 2.9 grams of marihuana were seized, along

with drug paraphernalia and the firearm.

      On May 5, 2017, Alyssa Ashley made a recorded telephone call to

Bangert.   Ashley asked Bangert again if he could get her an ounce, and

Bangert advised it depended on what he paid for it. Before getting off the
                                       12




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 12 of 47
phone, Ashley asked Bangert if he could do an “eight ball” (1/8 ounce) for $200,

if Bangert could not do an ounce. Bangert stated, “This drug dealer takes care

of this community." Bangert advised Ashley to call him back at a later time.

      On May 9, 2017, James Quincey Smith was interviewed. The interview

was non-custodial and recorded.     He said that he had been involved with

methamphetamine and heroin for around 1 ½ to 2 years. He said that he had

been purchasing small quantities of methamphetamine, around ¼ gram at a

time, from David Fox until around one year ago, when he became a distributor

and started getting ounce quantities at a time. The single largest amount was

5 ounces, which he received before Christmas 2016. After Fox was arrested

by investigators on federal charges in March 2017, and was placed on pre-trial

supervision, Smith got 2 ounces of methamphetamine from him. He knew

that Fox was obtaining methamphetamine from Michael Edward Hehir, Jr.,

from Georgia. Smith said that he had also met Hehir through Mary Phillips

and made trips with her to Georgia and South Carolina to pick up ounce

quantities of methamphetamine. Phillips gave Smith methamphetamine and

cash for making the trips. Smith said that the 5 grams of methamphetamine

he was arrested with on April 27, 2017, came from a person named “D.” This

person was later identified as Daniel Dewayne Wood.                Smith also

acknowledged getting heroin from suppliers in Concord, North Carolina.
                                      13




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 13 of 47
      On May 15, 2017, the Rowan County Sheriff’s Office conducted a traffic

stop of a Ford Mustang after conducting surveillance of Charlie’s Mart at 5035

Faith Road, Salisbury, North Carolina. Edward Lee Alexander Blais was the

driver, the left rear passenger was Alyssa Mary Brooke Ashley, and two other

people were in the Mustang. During the course of the stop, a drug detection

canine alerted to the vehicle for the presence and/or odor of narcotics.     A

plastic bag containing around 2.5 grams of methamphetamine was seized from

the under the driver’s seat within arm’s reach of where Ashley had been seated.

      On June 19, 2017, Michael Justin Antosek was interviewed pursuant to

a non-attribution agreement. Antosek said that he had known Daniel Wood

for around 20 years.    In 2015, he started getting pain pills from Wood.

Antosek was also getting methamphetamine from Wood. Antosek said that

from the summer of 2015, to around March 2017, Wood supplied him with

methamphetamine on a daily basis, averaging around ½ gram. He paid Wood

money, until he ran out and then began giving him personal property, such as

tools and a 2014 Harley Davidson valued at $40,000. Antosek stated that

before and after March 2016, he had seen Jeremy Bowers deliver 2 ounces of

methamphetamine to Wood on approximately two occasions.

      On June 26, 2017, cooperating witness Michael Antosek recorded a

conversation with Timothy Baxter Day.         During this conversation, Day
                                      14




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 14 of 47
admitted to brokering methamphetamine transactions for Daniel Wood

through sources of supply in Georgia. Day said that he had made multiple

trips for Daniel Wood and profited $400 off 4 ounces.

      On June 28, 2017, the Rowan County Sheriff’s Office conducted a

controlled purchase of 1 gram of methamphetamine from Rodney Neil Hardin

at his residence, 2501 Windswept Way, Rockwell, North Carolina. The source

of information that made the purchase saw Hardin in possession of an

additional 2 ounces of methamphetamine and a gram of crack cocaine. A .40

caliber handgun was lying on a dresser in the bedroom where the transaction

occurred.

      On July 7, 2017, Jeremy Paul Bowers was interviewed pursuant to a

non-attribution agreement.    Bowers said that in 2013 to 2014, he began

making trips to Florida to obtain methamphetamine.              He obtained

methamphetamine from his source of supply, Carlos Gomez, until around

March to July 2016. Bowers obtained 2 to 6 ounces of methamphetamine at

a time from Gomez for $1,000 per ounce. These trips were on a weekly basis

until April 26, 2015. After that the trips were made solely for Daniel Dewayne

Wood, who he met through Michael Justin Antosek.         Prior to April 2015,

Gomez supplied Bowers with 10 to 20 ounces per month. Bowers had different

persons travel with him to procure methamphetamine, including Brittany
                                      15




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 15 of 47
Thomas, who went one time. Bowers’ customers included Roy Lee Hartford,

Jr., and Brittany Thomas. Bowers also saw Wood with numerous firearms,

which he kept in a bedroom. Bowers said that the guns, including AR-15’s,

SKS’s and pistols, were in a safe and lined up against the wall.

      Bowers said that the last 5 times he traveled to Florida to get ice; it was

just for Daniel Wood.    Bowers explained that Wood fronted him $2,400 to

$2,600 at a time and he went to Florida and got 2 ounces each time, totaling

10 ounces.

      Bowers said that he met a Hispanic named "Jose" (Jose Alberto Perez),

through Brittany Thomas. Jose lived in the Woodleaf, North Carolina, area.

When Bowers stopped going to Florida on a weekly basis in the spring of 2015,

Daniel Wood wanted Bowers to get him two ounces. Bowers said that he and

Thomas drove to Jose’s house and obtained 2 ounces from Jose for Daniel

Wood.

      Bowers stated that David Earl Fox was getting methamphetamine from

Oliver Dwayne Quinn and then “Mike” and “Earl.” Bowers saw Mike and/or

Earl come to Fox’s residence on a weekly basis for approximately 8 months

before investigators searched Fox’s residence in March 2017.             Bowers

positively identified a booking picture of Michael Edward Hehir, Jr., as “Mike.”

Bowers saw Mike and/or Earl go to Fox’s outbuilding with Fox. Bowers said
                                       16




        Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 16 of 47
that Mike and/or Earl had Georgia license plates and knew Quinn. Bowers

said that he saw Fox with drugs after Mike and Earl left. Bowers saw Fox

with a Tupperware container full of ice, and used his hands to illustrate the

size of the container, which was more than 12 inches long. Bowers said that

the container had 1 to 2 pounds of methamphetamine.

      Bowers stated that he saw Quinn behind Fox’s house at the shop trying

to sell some ice to Roy Lee Hartford, Jr. Bowers saw Quinn pull the ice out to

show it to Hartford. Bowers identified Hartford as one of Fox’s customers.

      Bowers said that he got user quantities of “China White” heroin and

Roxicodone from James Quincey Smith, who he met through Morgan Pepper.

Bowers said that he obtained a small amount of ice for Smith on one occasion,

when Fox was gone.

      Bowers said that in late 2014, or early 2015, he sold Patrick Myers an

ounce of methamphetamine.       This deal was arranged through Roy Lee

Hartford, Jr. Bowers said that he also sold Hartford “eight balls” (1/8 ounce)

a few times during the time frame before he (Bowers) began staying with David

Fox prior to March 2016.

      On July 13, 2017, Brittany Dawn Thomas, who was in custody on

unrelated state charges, was interviewed after being advised of her Miranda

rights. Thomas admitted that in 2015 she brokered ounce methamphetamine
                                     17




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 17 of 47
transactions between Andrew Bost and her customers: Jeremy Bowers, Barney

Scott Paschall, Arnie Rabon, and Michael Antosek.     She met Jose Alberto

Perez, aka “Junie,” through Bost.

     In the winter months of 2014, she traveled with Jeremy Bowers to pick

up 4 ounces of methamphetamine in Tampa, Florida.        They brought the

methamphetamine back to Rowan County.        In October 2015, she traveled

with Patrick Myers and Oliver Quinn to Atlanta, Georgia, to pick up 4 ounces

of methamphetamine.     A couple of weeks later, she made another trip to

Georgia with Quinn and Myers and picked up 8 ounces of methamphetamine,

which they brought back to Rowan County.        Thomas said that she was

supposed to make a third trip with Quinn and Ashley Sanders to Georgia in

December 2015, but she and Quinn were arrested in Cabarrus County.

     In June 2017, she traveled with Rodney Hardin to a town outside

Atlanta, Georgia, where they picked up 10 ounces of methamphetamine from

a female supplier.   They brought this methamphetamine back to Rowan

County.

     On July 20, 2017, the Rowan County Sheriff’s Office and the United

States Department of Homeland Security (HSI) executed search warrants at

the following locations: 6775 Stokes Ferry Road, Salisbury, North Carolina,

1190 Summer Lane, Salisbury, North Carolina, Parcel ID#617A059, and
                                    18




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 18 of 47
515 West Peeler Street, Salisbury, North Carolina, where the following

persons were present: Daniel Dwayne Wood and James Quincey Smith.

      During the search of the Stokes Ferry Road residence investigators

seized approximately 61 grams of methamphetamine ice and large quantities

of prescription medications. Drug ledgers describing the sales of prescription

drugs were found inside the home. Investigators located a total of 27 firearms

including handguns, rifles, and shotguns from the residence, as well as

thousands of rounds of ammunition. Two of the guns were reported stolen.

Investigators   also   found   over   $12,000   in   United   States   currency.

      During the search of James Quincey Smith’s residence, 515 West Peeler

Street, investigators seized three rifles, ammunition and other items. One of

the rifles was reported stolen in Cabarrus County.

      On July 26, 2017, James Quincey Smith was interviewed.                The

interview was non-custodial and recorded.       Smith admitted to buying and

selling guns to Daniel Dewayne Wood, who he knew was a convicted felon. He

admitted selling a .32 North American Arms handgun to Wood that

investigators determined was stolen. Smith also acknowledged infrequently

buying methamphetamine from Daniel Wood.

      On August 9, 2017, Daniel Dewayne Wood was interviewed pursuant to

a non-attribution agreement. Wood indicated that he had been dealing in
                                       19




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 19 of 47
methamphetamine for the past three years, which he was obtaining from

David Earl Fox, Jeremy Bowers, Matthew Robertson, James Quincey Smith,

Timothy Baxter Day, and Michael Antosek, among others. Wood said that he

had dealt with Smith for around one year and was getting 1 to 2 ounces at a

time, totaling around 14 ounces.   The methamphetamine found at Wood’s

residence on July 20, 2017, came from Smith. Wood admitted that he had

procured many of the firearms found at his home on July 20, 2017, from Smith.

Wood made two transactions with Day in Georgia, for four ounces and one

ounce of methamphetamine, respectively.

     On August 10, 2017, Timothy Day was interviewed. Day waived his

Miranda rights and agreed to be interviewed. Day admitted to making one

trip with Charles Stanley Bangert, Jr., to pick up methamphetamine in

Georgia.   Bangert went through another source and obtained an ounce of

methamphetamine on another occasion.       During the return trip to North

Carolina on December 19, 2016, Day, Amanda Marie Hardison and Bangert

were stopped by the Georgia State Highway Patrol and Bangert was arrested.

The methamphetamine, which was hidden in the trunk of the car, was not

found. Hardison and Day recovered it and brought it back to Rowan County

and distributed most of it to Rodney Hardin.        In February 2017, Day

purchased one ounce of methamphetamine in Georgia and brought it to Rowan
                                     20




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 20 of 47
County for distribution.     Between April 2017, and early May 2017, he

brokered two methamphetamine transactions for Daniel Wood in Georgia. In

one deal, he successfully got 4 ounces. The second deal was to be 4 ounces,

but Day was only able to get 1 ounce.

      On August 31, 2017, the Rowan County Sheriff’s Office stopped a black

and red Peterbilt truck at 2580 Airport Road, Salisbury, North Carolina, after

it was observed speeding on South Main Street. During conversation with the

driver, Gary Ray Waller, Jr., he admitted to having a pistol in his passenger

seat and that he was a convicted felon. The gun, a Glock 10mm, was recovered

from the vehicle and determined to be stolen.

     In a Mirandized interview on September 18, 2017, Waller admitted to

having purchased the Glock 10mm from Justin Miller at Daniel Woods’

residence in Salisbury.    During this interview, Waller admitted to getting

methamphetamine from Rodney Hardin.

     On September 6, 2017, the Rowan County Sheriff’s Office conducted a

controlled purchase of .8 grams of methamphetamine from Ashley Paige

Kramer at the Economy Inn, 319 Bendix Drive, Salisbury, North Carolina.

The transaction was audio and video recorded.

     On September 7, 2017, the Rowan County Sheriff’s Office conducted an

undercover purchase of .8 grams of methamphetamine from Ashley Paige
                                        21




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 21 of 47
Kramer and Jacob Daniel Johnson in the parking lot of the Dollar General, 101

Granite Street, Granite Quarry, North Carolina.          Arrangements for the

purchase were made with Kramer.        An undercover officer conducted the

actual purchase from Johnson and the transaction was audio and video

recorded. A traffic stop was conducted immediately following the purchase.

32 grams of methamphetamine was located inside a bag within the vehicle.

     Johnson was advised of his Miranda rights, and gave a recorded

statement.   Johnson said that he and Ashley Kramer had been buying

methamphetamine from Rodney Hardin every other day, buying at least ½

ounce at a time. Johnson and Kramer bought as much as 4 ounces at a time

from Hardin at his residence at 2501 Windswept Way in Rockwell, North

Carolina.

     Ashley Kramer was advised of her Miranda rights” and provided a

recorded statement. Kramer said that she and Johnson purchased an ounce

of methamphetamine from Hardin on the previous night. Kramer admitted

that she and Johnson had purchased up to 4 ounces of methamphetamine from

Johnson at a time and that she had been selling for the past three months.

Kramer said that Hardin was procuring his methamphetamine in Georgia,

when he could not get it from his Hispanic connection.



                                     22




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 22 of 47
      On September 25, 2017, the Rowan County Sheriff’s Office conducted a

controlled purchase of 1 gram of methamphetamine from Rodney Neil Hardin

at his residence, 2501 Windswept Way, Rockwell, North Carolina. The source

of information that made the purchase saw Hardin in possession of a gallon-

sized bag that had approximately one inch of methamphetamine in the bottom

of the bag. The transaction was audio and video recorded.

      On September 26, 2017, James Quincey Smith was interviewed

pursuant to a non-attribution agreement. He acknowledged personal use of

methamphetamine beginning four to five years ago, which then progressed to

distribution around one and a half years ago. Smith said that his sources of

methamphetamine supply during the past one and a half years were David

Fox, Michael Antosek, Daniel Wood, Edward Blais, Scott Bruce, and Michael

Hehir, Jr. Smith said that he dealt directly with Hehir in 2016 and got a total

of around 5 ounces of methamphetamine from Hehir before Hehir starting

giving all the ice to Fox to distribute. The deals with Hehir were in Rowan

County, South Carolina, and Georgia. Smith transferred money via wire to

Hehir in exchange for narcotics.    Smith said that after Fox took over the

distribution, Hehir and “Earl” made the deliveries to Fox. Smith said that he

was aware of at least two deliveries of ice to Fox by Earl. The ice deliveries



                                      23




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 23 of 47
by Hehir and Earl were generally 10 to 15 ounces at a time, but he was aware

of one deal involving 30 ounces.

      Smith said that he met Daniel Wood around one year ago and they

became close friends.      Smith brokered methamphetamine deals for Wood,

usually 1 to 2 ounces at a time. This went on every few weeks or so. The

bulk of the methamphetamine was supplied by David Fox. After Fox was

placed on pre-trial supervision around April 2017, he brokered most of the

deals through Edward Blais, who was going through Brad Scott Bruce, Jr., to

get the drug. Smith also dealt directly with Bruce. The last deal he brokered

for Wood was for 2 ounces of methamphetamine in June 2017, and it was

supplied by Bruce. This was the only transaction he conducted with Bruce.

Smith also admitted supplying numerous firearms directly to Daniel Wood.

      On September 29, 2017, Amanda Marie Hardison was interviewed

regarding her involvement in methamphetamine distribution with Bangert,

Timothy Day and Rodney Hardin, among others.               Hardison admitted to

making at least three trips with Bangert, her baby’s father, to Georgia between

October and December 2016. Hardison said that she was with Bangert when

he   was    stopped   in    Gaffney,   South   Carolina,    with   4   ounces   of

methamphetamine in November 2016, but she did not know he had that much

with him.    She was also with Timothy Day and Bangert when they were
                                        24




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 24 of 47
stopped in Georgia in December 2016, and Bangert was arrested. Hardison

and Day returned to North Carolina with a quantity of methamphetamine that

had been hidden in the car.        The bulk of this methamphetamine was

distributed to Rodney Hardin.

      On September 30, 2017, Billy Jack Fleming was interviewed regarding

his knowledge of drug trafficking with Jose Perez, aka “Junie.”        Fleming

signed a written waiver of his Miranda rights.      Fleming said that he met

Perez around four years earlier and that they used drugs together. Fleming

assisted Perez in trafficking ice, primarily in Davie County. Perez obtained

the ice from a Mexican Cartel member named “Copia.” Perez and Fleming

obtained the ice in Winston-Salem, North Carolina.         Perez and Fleming

obtained pound quantities of ice for $9,000.            Money owed for the

methamphetamine was transmitted via wire to Mexico.

      On October 2, 2017, the Rowan County Sheriff’s Office, North Carolina

State Bureau of Investigation, and United States Department of Homeland

Security conducted a traffic stop on a silver 2007 Nissan Sentra driven by

Rodney Neil Hardin, with Megan Ray Shoaf as a passenger. When the initial

stop was attempted on Old Beatty Ford Road in Rockwell, North Carolina, the

vehicle fled from the scene. Two officers fired on the vehicle, when it appeared

that one was going to be struck by the Sentra.       The Sentra subsequently
                                      25




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 25 of 47
wrecked on Old Beatty Ford Road and both occupants were taken into custody.

Approximately 562 grams of methamphetamine was found in the trunk of the

vehicle. A total of $2,189.37 in cash was found in Hardin’s wallet, on his

person and under the vehicle.

     After being advised of his Miranda rights, Hardin admitted to having

just returned from Georgia after procuring methamphetamine from Dana

Duncan.   Hardin identified the location where he met Duncan as 1869

Prospect Road, Lawrenceville, Georgia. Hardin met Duncan through Ashley

Sanders. Hardin said that he was getting quantities of methamphetamine

from Duncan in amounts of 1/2 kilogram to 1 kilogram at a time. Hardin also

admitted to getting methamphetamine from “Sal” (Salvador Valadez, Jr.) in

Rowan County, North Carolina.      Hardin disclosed that he was getting

quantities from 1/2 pound to 1/2 kilogram of methamphetamine at a time from

Valadez. During this interview, Hardin placed a recorded telephone call to

Dana Duncan at (470)808-7272, and discussed conducting another drug deal.

     A search warrant was executed at Hardin’s residence, 2501 Windswept

Way, Rockwell, North Carolina.   During the search officers located a .380

caliber Diamond Back handgun, .380 caliber ammunition, 12 grams of

suspected cocaine and assorted drug paraphernalia.



                                    26




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 26 of 47
      On October 9, 2017, the Rowan County Sheriff’s Office observed Edward

Blais on Main Street in Faith, North Carolina, driving a green 1998 Jeep

Cherokee. Blais was known not to have an active driver’s license. Blais fled

to avoid being stopped and eventually jumped from the Jeep on West 2nd

Street.     A deputy observed Blais carrying a black case in his right hand.

During the search of the Jeep, 0.2 grams of black tar heroin, a used syringe

and 2 Xanax tablets were located.

      Blais was brought to the Rowan County Sheriff’s Office and interviewed.

Blais waived his Miranda rights, and the interview was recorded.            Blais

stated that he had purchased methamphetamine and heroin from Brad Scott

Bruce for the past year.      Blais purchased anywhere from 1/4 ounce to 1/2

ounce of heroin from Bruce every week for the last year.        Based on Blais’

estimate, he purchased around 13 ounces of heroin from Bruce during the same

time period. Blais also advised he has seen Scott Bruce carry a greyish 9mm

handgun during drug transactions on multiple occasions. These transactions

occurred at various locations, Bruce’s house on Courtney Lane, and 2nd Street

in Faith, North Carolina.

      Blais then admitted to having made two to three trips with Rodney

Hardin to Lawrenceville, Georgia, to procure 1/2 kilogram to 1 kilogram

quantities of methamphetamine at a time. The last trip was approximately a
                                        27




          Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 27 of 47
month and a half ago and they picked up a kilogram of methamphetamine.

Blais advised that he has been with Rodney Hardin to pick up various amounts

of methamphetamine ranging between 1/2 kilogram and a whole kilogram,

paying $10,000 for 1/2 kilogram and $17,000 for a whole kilogram. Hardin

obtained the methamphetamine from a female in Georgia, and kept it on his

lap so he could toss it out if they encountered law enforcement.

      Blais advised that Rodney Hardin had another connection for

methamphetamine, a Hispanic male that lived in the second or third

neighborhood off Gaskey Road in Salisbury, North Carolina. The description

of the location matched the known address of Salvador Valadez, Jr.

      Blais said that he purchased methamphetamine from Hardin for one and

a half to two years, initially buying 1 to 2 grams, but for the past two months,

he had purchased quantities of 1 to 2 ounces at a time, sometimes every day.

Blais advised he would buy from Scott Bruce and Rodney Hardin on and off

and they would alternate as being "the man" to get methamphetamine. Blais

also acknowledged brokering a 1 ounce methamphetamine ice deal between

Rodney Hardin, Quincey Smith and Daniel Wood.

      On October 10, 2017, cooperating witness Rodney Neil Hardin made a

controlled purchase of 4 ounces of suspected methamphetamine from Salvador

Valadez, Jr., aka “Sal.” The purchase took place in a Ford F150 pickup truck
                                      28




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 28 of 47
located in front of 1012 Matika Drive, Salisbury, North Carolina.          The

purchase was made using $3,500 in Rowan County Sheriff’s Office Special

Funds. The transaction was recorded.

      On October 11, 2017, Billy Jack Fleming was interviewed regarding his

involvement in drug trafficking. Fleming said that he had known Andrew

Bost his whole life and Jose Perez, aka “Junie,” for around seven years.

Fleming said that he and Bost had been involved in small-time drug

distribution, but it became much bigger after Perez became involved. After

Perez got out of federal prison he began getting large amounts of

methamphetamine from a person he met in federal prison named “Copia.”

The initial deal was 5 pounds. The delivery was made to Tracy Holleman’s

residence in Cooleemee, North Carolina. On other occasions, Fleming and

Perez traveled to Winston-Salem to get methamphetamine. Before Fleming

went to prison in July 2015, he robbed Bost of 7 ounces of methamphetamine

and fled to Kentucky. From July 2015, to August 2016, Fleming was in and

out of prison. When he got out of prison he learned that everyone had cheated

Bost and gotten Copia’s number.            After prison, Fleming brokered

methamphetamine deals between his own customers and Copia. In August to

September 2017, after he got out of jail, Fleming brokered a deal between Copia

and “Jay,” a customer from China Grove, North Carolina, for 18 ounces of
                                      29




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 29 of 47
methamphetamine and 7 ounces of heroin.      The transaction took place in

Salisbury, North Carolina.    Money owed for the methamphetamine was

transferred via wire to Mexico, and to Winston-Salem. Fleming stated that

around September 2017, he brokered a one-pound ice deal between Copia and

a male named “Trey.”     This transaction took place in Salisbury, North

Carolina.   Additionally, Fleming made trips with Mary Phillips before he

went to prison for the second time in 2016 to obtain methamphetamine from

Hispanic sources in Georgia. The quantities were 8 ounces one time and 4

ounces the other time.

     On October 12, 2017, the Rowan County Sheriff’s Office was conducting

surveillance of a known drug house at 403 East 2nd Street, Faith, North

Carolina, and saw Edward Blais exit a red Ford truck and walk to the rear of

the residence.   Deputies knew that Blais had outstanding felony arrest

warrants.   Deputies went to the location to arrest Blais and he took off

running, but was apprehended approximately 25 yards from the truck.       A

search incident to arrest revealed 3 grams of heroin, 1 gram of

methamphetamine, marihuana and Xanax tablets on his person. Deputies

approached the remaining occupant of the truck, Brad Scott Bruce. Bruce

said that there was a gun in the vehicle and drugs in his right rear pocket.

Approximately 37 grams of methamphetamine and 9 grams of heroin were
                                    30




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 30 of 47
found on Bruce’s person. A 9mm Kel Tec semi-automatic handgun was found

in the truck.    A consent search of the residence resulted in the seizure of

additional heroin and drug paraphernalia.

      On November 9, 2017, Gary Ray Waller, Jr., was interviewed at the

Rowan County Detention Center. Waller requested to speak to investigators,

without an attorney. Waller admitted that in 2017 he received 12 to 16 ounces

of methamphetamine from Bangert and supplied it to Brenda Bostian.

      On November 9 and 10, 2017, Jose Alberto Perez, Jr., aka “Junie,” aka

“Juice,” and Samuel Blake Helton were stopped in a vehicle in Knox City,

Texas.      Helton was arrested for possession of methamphetamine and

marihuana.      Perez was not arrested.     Further investigation showed that

Perez and Helton were en route to Los Angeles, California, to procure multiple-

pound quantities of methamphetamine and transport it back to North

Carolina.

      On November 20, 2017, Arnie Preston Rabon, pending sentencing in the

Middle District of North Carolina, was interviewed pursuant to a non-

attribution agreement. Rabon stated that he met Bangert through Brenda

Bostian. Rabon said that he mostly sold methamphetamine to Bangert from

August 2015, to February 2016. These deals generally ranged from 1/2 gram

to 1/8 ounce at a time. Rabon traded methamphetamine to Bangert for three
                                       31




         Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 31 of 47
different guns, one was a Smith and Wesson .38 caliber seized from Rabon on

February 22, 2016.       He sold Bangert a total of 1 to 2 ounces of

methamphetamine.

      Rabon said that he met Alyssa Ashley in November or December 2010,

and he had a baby by her. He bought methamphetamine from Ashley. He

stated that in September 2015, he started fronting methamphetamine to

Ashley, concluding in January 2016. The deals were 1/8 to 1/4 ounce at a time,

usually twice per week. Rabon distributed around 4 to 5 ounces to Ashley.

      Rabon said that he met Alibbia Jo Michaud and her brother, Arnold

Robertson, around the spring of 2015, through working at Powerhouse

Recycling in Salisbury, North Carolina. Robertson fronted ounce quantities

of methamphetamine to Rabon. Robertson and Michaud both told Rabon that

they got methamphetamine from a female named “Isis.” Rabon sold Michaud

small quantities of ice, usually 1/2 to 1 gram at a time, but eventually he could

not get anything and Michaud began supplying him. He got ice from Michaud

three to four times per week in late 2015, continuing to January 2016. The

amounts were 1/8 to 1/4 ounce at a time.        He got a total of 3 ounces of

methamphetamine from Michaud.




                                       32




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 32 of 47
     Rabon stated that in August to September, 2015, he purchased 1 ounce

of methamphetamine from Ashley Sanders for $800. At the end of 2015, he

sold Sanders gram quantities of methamphetamine, totaling 1/4 of an ounce.

     On November 27, 2017, the Rowan County Sheriff’s Office, North

Carolina State Bureau of Investigation (SBI) and the Salisbury Police

Department executed a search warrant at the residence of Rodney Neil Hardin,

located at 2501 Windswept Way, Rockwell, North Carolina.        During the

search, investigators seized approximately 3 ounces of methamphetamine, 2.7

grams of cocaine, 0.5 grams of heroin, two handguns, and almost $5,722 in

United States currency. One gun was reported stolen.

     In addition to the drugs seized above, investigators discovered that

Hardin was manufacturing methamphetamine at his residence. Items used

in the manufacturing of methamphetamine, including two one pot “shake and

bake” laboratories and an HCL generator, were found at the residence. The

SBI Clandestine Laboratory Response Team processed the evidence at the site.

     On December 6, 2017, Rodney Neil Hardin was interviewed regarding

his involvement in drug trafficking.    A non-attribution agreement was in

place at the time of the interview. Around April 17, 2017, Hardin met Dana

Duncan, a Georgia resident, through Ashley Dawn Sanders. Between April

and October 2, 2017, Hardin got quantities ranging from a few ounces to 40
                                       33




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 33 of 47
ounces of methamphetamine-ice at a time from Duncan in Georgia, and South

Carolina. Transactions were done on at least a weekly basis and sometimes

more frequently.   Between May and October, 2017, Hardin got at least ½

kilogram per week, totaling at least 10 kilograms.         Duncan obtained

methamphetamine from a Mexican supplier in Georgia. After Hardin was

arrested on October 2, 2017, he dealt with Duncan two more times, totaling 12

to 16 ounces.

      Hardin said that Scott Bruce, Erica Wallace, Edward Blais, Brittany

Thomas, and Megan Shoaf made trips with him to Georgia and South Carolina

to pick up methamphetamine from Duncan.        Hardin stated that he began

purchasing methamphetamine from Salvador Valadez, Jr., in early 2017. The

quantities ranged from 4 ounces to 1/2 kilogram at a time, with the

transactions taking place at 102 Matika Drive in Salisbury, North Carolina.

Hardin stated that he had seen numerous firearms at Valadez’s residence.

Valadez indicated that his suppliers were involved in air smuggling and he was

also getting ice through the mail. Valadez transferred money to his suppliers

through wire services and on two occasions had Hardin transfer $2,000 to

$3,000.

      Hardin stated that the stolen Smith and Wesson M&P 9mm handgun

found at his residence on October 2, 2017, came from Wayne Hicks. Hardin
                                     34




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 34 of 47
indicated that he supplied methamphetamine to Edward Blais, Wayne Hicks,

Scott Bruce, and Richard Trey Wright.      A review of telephone records for

Rodney Hardin, Dana Duncan and Salvador Valadez, Jr., corroborated the

information provided by Hardin.

      On December 7, 2017, David Earl Fox was interviewed regarding his

involvement in drug trafficking. A non-attribution agreement was in place at

the time of the interview.        Fox indicated that he began obtaining

methamphetamine from Michael Hehir, Jr., a Georgia resident, around

August, 2016, and ending at the time of Fox’s arrest in March, 2017. Over an

eight-month period, Hehir and his driver, Earl, delivered methamphetamine

to him in quantities ranging from 3 ounces to 12 ounces at a time. Fox said

that he had seen Earl in possession of Tupperware containers with 16 ounces

in each container. Fox indicated that Hehir was the source of supply, but most

of the deliveries were made by Earl, usually every seven to ten days. Based

on Fox’s interview, he received at least 4 ounces of methamphetamine every

two weeks from Mike from August, 2016, to October, 2016, totaling around 24

ounces. Of these, at least three were delivered by Earl, totaling at least 12

ounces. Between November, 2016, and late February, 2017, Fox conducted,

on average, around four deals per month with Mike and Earl, involving at least

8 ounces each time.    A conservative estimate would be that Fox received
                                     35




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 35 of 47
around 128 ounces of methamphetamine during this four-month period. In

total Fox received at least 152 ounces from Mike, with Earl being responsible

for around 140 ounces of that total.      Fox admitted to supplying Roy Lee

Hartford, Jr., Quincey Smith, Daniel Wood, Wayne Hicks, Brenda Bostian, and

numerous others with methamphetamine.

     Reviews of telephone records corroborate numerous contacts between

Fox, Hehir and Earl.    Text messages retrieved from Fox’s telephone also

corroborate drug transactions between the three men.

     On December 29, 2017, Samuel Blake Helton was interviewed regarding

his involvement in drug trafficking with Lincoln Brock and Jose Perez, aka

“Junie.” The interview was non-custodial and recorded. Helton admitted to

a drug relationship with Perez and Lincoln Brock between September, 2017,

and November, 2017.     During this time frame, he and Brock distributed

methamphetamine and heroin for Perez. Helton claimed that he and Brock

distributed around 2 pounds of a 15 pound shipment of heroin. The largest

amount that Helton personally saw was 1 pound. Helton and Brock assisted

Perez in the distribution, obtaining 1/4 to 1/2 ounce every other day.    In

November 2017, Perez recruited him to go with him to Los Angeles, California,

to pick up 30 pounds of methamphetamine and $25,000 cash. Perez promised

to pay him $3,500 and 2 1/2 pounds of methamphetamine for making the trip.
                                     36




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 36 of 47
Perez and Helton were stopped in Texas on November 9, 2018, and Helton was

arrested for possession of methamphetamine, cocaine and marihuana. Helton

went to jail and Perez flew back to North Carolina.

          On January 4, 2018, Adam Hardy Bailey was interviewed.            Bailey

provided a written waiver of his Miranda rights. The interview was recorded.

Bailey stated that he met Perez in the spring of 2017, and that Perez lived with

him for a short time in Rowan County, North Carolina. Around September,

2017, Perez made a trip to Atlanta, Georgia, and upon his return, Bailey saw

him with around 2 pounds of ice and 3 ounces of heroin. Perez made another

trip shortly thereafter with a male named “Blake,” but they were stopped in

Texas en route to California.      Blake Helton was arrested and returned to

North Carolina.       They were to pick up narcotics from a Mexican Cartel

supplier named “Copia.” Around two weeks later, Perez made a trip with

Felecia Potter to California, and upon their return, he saw Perez with 2 pounds

of ice.

          On January 5, 2018, Rodney Neil Hardin was interviewed regarding his

involvement in drug trafficking. A non-attribution agreement was in place at

the time of the interview. Hardin said that he met Ashley Kramer through

“Trey” Wright around the spring of 2017, and began supplying her and her

husband, Jacob Johnson. Initially, Kramer and Johnson received 1 gram to
                                        37




          Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 37 of 47
1/16 of an ounce of methamphetamine at a time, but it quickly progressed to

an ounce at a time. These deals were done on at least a weekly basis. Hardin

said that the Diamond Back .380 caliber handgun found at his residence by

investigators came from Jacob Johnson. Hardin stated that a .40 handgun

that Johnson was caught with in Stanly County came from him. Hardin said

that he supplied Kramer and Johnson with at least 24 ounces of

methamphetamine.

       On January 10 2018, Bangert was interviewed regarding his

involvement in drug trafficking. The interview was recorded. Bangert said

that prior to obtaining sources of methamphetamine supply in Georgia, he was

supplied by Jamie Brady (Jamie Lynn Myers), David Fox, Jon Norris, Brenda

Bostian, Arnie Rabon, Rodney Hardin, Gary Waller, Mary Phillips, and Brent

Childs, among others. Bangert said that right before he was locked up on July

12, 2017, Hardin was trying to send him to Georgia to pick up something for

him.

       In 2016, Bangert started obtaining methamphetamine in Georgia from

Alibbia Jo Michaud, aka “Libby.” He met Michaud through Alyssa Ashley.

Later, he obtained methamphetamine from multiple Georgia suppliers. The

transactions with Michaud started off with 4 ounces and progressed to 2

kilograms at a time. This continued until around the spring of 2017. The
                                     38




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 38 of 47
methamphetamine was brought back to Cabarrus and Rowan counties for

distribution. Bangert identified Alyssa Ashley, Ashley Sanders, Gary Waller,

and Brittany Thomas, among others, as customers. Bangert said that Rodney

Hardin fronted money to him to procure methamphetamine from Bangert’s

Georgia sources.

     On January 11, 2018, the Rowan County Sheriff’s Office conducted a

controlled purchase of approximately 1 gram of methamphetamine from

Richard Trey Wright at 6895 Faith Road, Salisbury, North Carolina.        The

transaction was audio recorded.

     On January 12, 2018, Jose Alberto Perez was interviewed.             The

interview was recorded.    After being advised of his Miranda rights Perez

admitted   to   his   involvement   in    methamphetamine   trafficking   from

Washington State, California, Texas and Georgia to North Carolina. Perez

said that he met Marcos Rios, aka “Copia,” in federal prison at the United

States Penitentiary in Lee, Virginia. When they both were released, Perez

began receiving shipments of methamphetamine-ice from Rios in 2014. He

received two 5 pound shipments of ice, totaling 10 pounds. After a supervised

release violation, Perez returned to prison in 2014, and remained there until

2017. Perez said that he did several 1 to 2 pound ice deals with couriers

working for Copia and his associate “Carlos,” before Carlos sent his son,
                                         39




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 39 of 47
“Wedo,” to North Carolina to help oversee distribution.    Perez identified a

picture of Raul Guerrero-Espinoza as “Carlos,” and that Carlos was presently

in Mexicali, Mexico, with Marcos Rios. When Wedo came to North Carolina,

he and Wedo traveled to Texas and picked up 9 pounds of ice and brought it to

North Carolina. Eventually, Perez took 3 pounds and refused to pay for it and

Wedo kept the other 6 pounds.

      On February 20, 2018, the Rowan County Sheriff’s Office conducted a

controlled purchase of approximately 1 gram of methamphetamine from

Richard Trey Wright at 1105 Peeler Road, Salisbury, North Carolina. The

transaction was audio recorded.

      On March 10, 2018, during a license checkpoint at Gold Knob Road and

Mahaffey Drive in Salisbury, North Carolina, deputies saw a blue Dodge van

approach the checkpoint and quickly pull into a driveway at 820 Gold Knob

Road. A deputy familiar with the residence knew that the van did not belong

at the location and no one exited the vehicle. When the deputy stopped behind

the van, the driver jumped out of the vehicle.        The deputy saw drug

paraphernalia in plain view in the van. At this point, the deputy spoke to the

passenger, Richard Trey Wright, who volunteered, “There is meth in the

vehicle that belongs to a friend.” A box containing methamphetamine and



                                     40




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 40 of 47
different prescription drugs was found in the glovebox. A total of around 4

and grams of methamphetamine was seized.

       On March 14, 2018, Richard Trey Wright was interviewed.            Wright

indicated that in February 2017, he was introduced to Rodney Hardin through

Mary    Phillips.    He   said   that   he   initially   bought   1/4   ounce   of

methamphetamine from Hardin and the quantities increased almost

immediately to an ounce of methamphetamine per day, every day, until around

September of 2017.    These transactions took place at Hardin’s residence,

located on Windswept Way in Rockwell, North Carolina. Wright saw Hardin

with kilogram quantities of methamphetamine and knew that Hardin was

obtaining it in Georgia and from an unidentified Hispanic male. Wright also

admitted that in 2017, he made two trips to Georgia with Alyssa Ashley and

obtained 2 ounces of methamphetamine each time from Alibbia Michaud in

Atlanta, Georgia.

       On April 3, 2018, the Rowan County Sheriff’s Office responded to a

suspicious vehicle call at 725 Lillian Circle, Salisbury, North Carolina. When

deputies arrived at 725 Lillian Circle, a Nissan 350Z was sitting in the

driveway with its headlights on.    When approaching the vehicle, a deputy

observed two front seat occupants of the vehicle sleeping. The occupants were

subsequently identified as Charles Stanley Bangert, Jr., the driver, and
                                        41




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 41 of 47
Amanda Marie Hardison, the passenger.         The deputy observed a plastic

baggie with a white crystal-like substance sitting between the sleeping driver’s

arm and abdomen. After the occupants were awakened, the deputy asked the

driver if he had any illegal narcotics and he replied none. The deputy pointed

out the baggie on Bangert’s person and Bangert acted as though he did not

know what the deputy was talking about.         When Bangert got out of the

driver’s seat, the deputy noticed a plastic baggie containing suspected 10 grams

of marihuana lying on the driver’s seat. Bangert was searched and $2,250 in

a large roll was found in his shirt pocket. In a probable cause search of the

vehicle, deputies located a small pouch and a 0.3 grams of methamphetamine.

The small pouch contained a scale, a weighing cap and a glass stem with

residue. The suspected methamphetamine in the baggie on Bangert’s chest

weighed 2 grams.

      On April 13, 2018, the Rowan County Sheriff’s Office conducted a traffic

stop of a gold 2013 Ford Explorer towing two jet skis in China Grove, North

Carolina.   Based on electronic surveillance of Bangert’s telephone and the

monitoring of calls between Bangert and Amanda Hardison, investigators

knew that Bangert made a trip to Georgia and was returning. Bangert was

the rear seat passenger in the vehicle. When Bangert was extracted from the

vehicle, he resisted deputies and was immediately taken to the ground.
                                      42




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 42 of 47
During     a       search     of    his   person,      approximately   6   1/2   ounces   of

methamphetamine was found in a plastic bag in the front waist area of his

pants.

      On May 3, 2018, the Rowan County Sheriff’s Office conducted a

controlled purchase of approximately 3 1/2 grams of methamphetamine from

Brock Michael Rowe. The transaction was audio recorded and surveilled by

the Rowan County Sheriff’s Office.

      On May 16, 2018, the Rowan County Sheriff’s Office arrested Ashley

Dawn Sanders and Brock Michael Rowe on methamphetamine trafficking

charges. At 7:50 p.m., the Rowan County Sheriff’s Office Crime Reduction

Unit conducted a traffic stop of a red Honda CR-V occupied by three individuals

in the 1100 block of Fraley Street in Salisbury, North Carolina. The driver

was Jonathan Mark Patton, and Brock Michael Rowe, and Ashley Dawn

Sanders were passengers. An open container of alcohol was visible inside the

passenger compartment of the vehicle. When Rowe was removed from the

vehicle, a clear plastic bag containing approximately 1/2 ounce of crack cocaine

fell from his pants and was recovered.                   A search of Sanders’ pocketbook

revealed       a    plastic        bag    containing     approximately     280   grams    of

methamphetamine and two plastic bags containing 60 grams of marihuana.

Rowe signed a written waiver of his “Miranda Rights,” and agreed to be
                                                43




         Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 43 of 47
interviewed. The interview was recorded. Rowe admitted to having traveled

to Hapeville, Georgia, on May 16 with Ashley Sanders and Jonathan Patton to

procure drugs. Rowe claimed that the supplier was a bi-racial male, named

“Will,” who he had met through “Dave,” from Statesville, North Carolina.

Rowe said that he expected to receive at least 7 to 8 ounces of

methamphetamine, but he was unsure of the exact amount he got.           Rowe

claimed that once the methamphetamine was obtained in Georgia, Sanders

had it in her possession.

      Rowe stated that in the past two months, he made a total of four to five

trips to Georgia to procure drugs.    Rowe said that on the initial trip he

traveled with Sanders and Dave and they received around 3 ounces. On the

second trip, he again rode with Dave and got 1 ounce. On the third trip, he

went with Dave again and got an unknown amount of methamphetamine. On

the fourth trip, Rowe went with Jesse Redding and his girlfriend, Christy

Gatewood, and got around 5 to 6 ounces of methamphetamine.

      Sanders was interviewed regarding her involvement in drug trafficking.

Sanders signed a written waiver of her “Miranda Rights,” and agreed to be

interviewed. The interview was recorded. Sanders confirmed that she had

traveled with Brock Rowe to Georgia to pick up drugs. Sanders claimed that

this was her second trip to Georgia with Rowe in the past two weeks. Rowe
                                     44




       Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 44 of 47
procured the drugs from a Hispanic or black supplier identified by Rowe in

phone calls as “Bubba.” Sanders claimed that when they got pulled over in

Rowan County that Rowe threw everything into her pocketbook.

     On May 22, 2018, Ashley Dawn Sanders was interviewed regarding her

involvement in drug trafficking. Sanders was advised of her “Miranda

Rights,” and agreed to be interviewed. Sanders stated that she had made

trips to Hapeville, Georgia, to obtain methamphetamine with Brock Rowe over

a two-week period prior to May 16, 2018. Sanders said that Rowe developed

a Georgia connection through David DeLorenzo, who lived in North Carolina,

but was from Georgia. The supplier was a Hispanic male that Rowe referred

to as “Bubba” in telephone calls. Bubba lived in an apartment at 308 College

Street in Hapeville. Sanders claimed that she and Rowe made five trips to




                                    45




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 45 of 47
Georgia, with the quantities of 4 to 5 ounces at a time, except the last trip.

Their last trip was on May 16, 2018, when they had 10 ounces.

      This the 2nd day of October, 2018.

                                    Respectfully submitted,

                                    MATTHEW G.T. MARTIN
                                    United States Attorney



                                    /S/ TERRY M. MEINECKE
                                    Assistant United States Attorney
                                    NCSB #27586
                                    United States Attorney=s Office
                                    Middle District of North Carolina
                                    101 South Edgeworth Street, 4th Floor
                                    Greensboro, NC 27401
                                    Phone: 336/333-5351
                                    E-mail: Terry.Meinecke@usdoj.gov




                                     46




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 46 of 47
                       CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2018, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the following:

     Karen D. Gerber, Esquire;
     Benjamin D. Porter, Esquire;
     Robert A. Broadie, Esquire;
     Alan Doorasamy, Sr., Esquire;
     Renorda E. Pryor, Esquire;
     James Blakely Norman, Esquire;
     Seth A. Neyhart, Esquire;
     Eugene E. Lester, Esquire;
     Duane K. Bryant, Esquire;
     Brian M. Aus, Esquire;
     R. Andrew McCoppin, Esquire;
     Robert L. McClellan, Esquire;
     Micah E. Huggins, Esquire;
     Aaron B. Wellman, Esquire;
     Todd A. Smith, Esquire;
     Corey D. Buggs, Esquire;
     David B. Smith, Esquire;
     Mark A. Jones, Esquire;
     John D. Bryson, Esquire;
     David B. Freedman, Esquire;
     James E. Quander, Esquire;
     Cheryl D. Andrews, Esquire; and
     Charles H. Harp, Esquire.

                                   /S/ TERRY M. MEINECKE
                                   Assistant United States Attorney
                                   NCSB #27586
                                   United States Attorney’s Office
                                   Middle District of North Carolina
                                   101 South Edgeworth Street, 4th Floor
                                   Greensboro, NC 27401
                                   Phone: 336/333-5351
                                   E-mail: terry.meinecke@usdoj.gov

                                     47




      Case 1:18-cr-00303-UA Document 266 Filed 10/02/18 Page 47 of 47
